Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2793 Filed 11/25/15 Page 1 of 10




                   UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff/Respondent,
                                       Case No. 13-20495
 v.                                    Honorable Paul D. Borman
                                       Magistrate Judge Elizabeth A. Stafford
 ANDRE HURSTON,

      Defendant/Petitioner.
 ____________________________/

            REPORT AND RECOMMENDATION TO DENY
       ANDRE HURSTON’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255 [R. 183]

 I.    INTRODUCTION

       On February 10, 2015, Defendant-Petitioner Andre Hurston, a federal

 prisoner proceeding pro se, filed a motion to vacate, set aside, or correct

 his sentence pursuant to 28 U.S.C. § 2255, along with a supporting brief

 [R. 183; R. 185]. The Honorable Paul D. Borman referred the motion to

 this Court for report and recommendation pursuant to 28 U.S.C.

 § 636(b)(1)(B). [R. 186]. The Government responded to Hurston’s motion,

 and Hurston filed a reply. [R. 202; R. 209]. For the following reasons, the

 Court RECOMMENDS DENYING Hurston’s § 2255 motion to vacate, set

 aside, or correct his sentence [R. 183].
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2794 Filed 11/25/15 Page 2 of 10




 II.   BACKGROUND

       Prior to May 2, 2013, Hurston and at least three other individuals

 agreed to rob, by the use of force or threatened force, a pharmaceutical

 van delivering controlled substances. [R. 95, PgID 611]. Hurston

 acknowledged in his plea agreement that he joined the conspiracy

 knowingly and voluntarily, and participated in the planning of the robbery.

 [Id., PgID 611-12].

       On May 2, 2013, co-conspirators of Hurston drove a stolen blue

 Dodge Charger to the parking lot of the Patient Care Pharmacy in Dearborn

 and parked behind the pharmaceutical delivery van. [R. 95, PgID 612].

 One of the individuals got out of the vehicle, approached the delivery driver,

 brandished a firearm, and demanded the keys to the van. [Id.]. The driver

 complied, and the co-conspirator drove off in the van, which contained

 controlled substances and various pharmaceutical supplies. [Id.]. Shortly

 thereafter, Hurston and his co-conspirators met and sorted through the

 stolen property, during which Hurston obtained some of the controlled

 substances in order to distribute them. [Id.]. The combined value of the

 contents of the van and the van itself exceeded $50,000. [Id., PgID 613].

       On October 29, 2013, a federal grand jury returned a second

 superseding indictment against Hurston, charging him with one count of


                                       2
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2795 Filed 11/25/15 Page 3 of 10




 conspiracy to commit interference with commerce by robbery, in violation of

 18 U.S.C. § 1951(a), and four counts of possession with intent to distribute

 controlled substances, in violation of 21 U.S.C. § 841(a)(1). [R. 45]. On

 April 22, 2014, Hurston pleaded guilty to conspiracy to commit interference

 with commerce by robbery, pursuant to a Rule 11 plea agreement, and the

 Government agreed to dismiss the other charges against him. [R. 95].

       The Court held a sentencing hearing on August 8, 2014, during which

 it accepted the plea agreement, found the guideline sentencing range to be

 78 to 97 months, and sentenced Hurston to an 84-month term of

 imprisonment. [R. 216, PgID 2523-26]. The 78-97 month guideline range

 was based on a total offense level of 27 under the United States

 Sentencing Guidelines, calculated as follows: a base offense level of 20

 under U.S.S.G. § 2B3.1(a); a five-level increase because a firearm was

 brandished during the offense, § 2B3.1(b)(2)(C); a two-level increase

 because the offense involved a carjacking, § 2B3.1(b)(5); a one-level

 increase because controlled substances were taken during the offense,

 § 2B3.1(b)(6); a two-level increase because the loss amount was greater

 than $50,000 but less than $250,000, § 2B3.1(b)(7)(B); and a three-level

 reduction for acceptance of responsibility, §§ 3E1.1(a) and (b). [See

 Presentence Investigation Report at ¶¶ 32-45.].


                                      3
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2796 Filed 11/25/15 Page 4 of 10




        On February 10, 2015, Hurston filed a motion to vacate, set aside, or

 correct his sentence pursuant to 28 U.S.C. § 2255. [R. 183; 185]. The

 Government responded, and Hurston filed a reply. [R. 202; R. 209].

 III.   APPLICABLE LAW

        A.   § 2255 Motion to Vacate, Set Aside, or Correct Sentence

        The substantive provisions of 28 U.S.C. § 2255 provide that a federal

 prisoner “claiming the right to be released upon the ground that the

 sentence was imposed in violation of the Constitution or laws of the United

 States ... may move the court which imposed the sentence to vacate, set

 aside, or correct the sentence.” 28 U.S.C. § 2255 para. 1. Thus, a

 defendant may be entitled to § 2255 relief if his conviction or sentence

 violates either the Constitution or a federal statute. To prevail under

 § 2255, “a petitioner must demonstrate the existence of an error of

 constitutional magnitude which had a substantial and injurious effect or

 influence on the guilty plea or the jury’s verdict.” Humphress v. United

 States, 398 F.3d 855, 858 (6th Cir. 2005) (citation omitted). “Relief is

 warranted only where a petitioner has shown a fundamental defect which

 inherently results in a complete miscarriage of justice.” Griffin v. United

 States, 330 F.3d 733, 736 (6th Cir. 2003) (internal quotation marks and

 citation omitted).


                                        4
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2797 Filed 11/25/15 Page 5 of 10




       B.    Ineffective Assistance of Counsel

       The Sixth Amendment right to counsel and right to effective

 assistance of counsel protect the fundamental right to a fair trial. See

 Strickland v. Washington, 466 U.S. 668, 687 (1984). To establish

 ineffective assistance of counsel, a defendant must show that: (1) counsel’s

 errors were so serious that “counsel was not functioning as the ‘counsel’

 guaranteed the defendant by the Sixth Amendment”; and (2) “the deficient

 performance prejudiced the defense.” Id. at 687. To satisfy the first

 element, a defendant must demonstrate that the attorney’s representation

 “fell below an objective standard of reasonableness.” Id. at 687-88.

 Judicial scrutiny of an attorney’s performance is “highly deferential”; there is

 a “strong presumption that counsel’s conduct falls within the wide range of

 reasonable professional assistance[.]” Id. at 689. With respect to the

 prejudice prong, a “defendant must show that there is a reasonable

 probability that, but for counsel's unprofessional errors, the result of the

 proceeding would have been different. A reasonable probability is a

 probability sufficient to undermine confidence in the outcome.” Id. at 694.

 IV.   ANALYSIS

       Hurston makes two arguments in his motion to vacate. He claims

 that his counsel was ineffective for failing to “research recent development


                                        5
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2798 Filed 11/25/15 Page 6 of 10




 of new law, or investigate new law” relating to his guideline range, and for

 failing to object to his incorrectly calculated guideline range. [R. 185, PgID

 2024, 2029-32]. Both arguments are unavailing.

       A.    Ineffective Assistance of Counsel – Sixth Amendment
             Right to a Jury Trial

       In his first claim, Hurston argues that his attorney deprived him of

 effective assistance of counsel by failing to object to his base offense level

 being increased by nine levels due to the fact that the underlying offense

 involved the brandishing of a firearm (five-level increase), carjacking (two-

 level increase) and a loss amount above $50,000 but below $250,000 (two-

 level increase).1 He claims that each enhancement constitutes an

 “element” to his offense, which must be established beyond a reasonable

 doubt and found by a jury. Hurston is wrong.

       In support of his argument, Hurston cites Apprendi v. New Jersey,

 530 U.S. 466 (2000), and Alleyne v. United States, 570 U.S. ––, 133 S.Ct.

 2151 (2013), both of which addressed statutory sentencing provisions. In

 Apprendi, the Supreme Court held that “[o]ther than the fact of a prior

 conviction, any fact that increases the penalty for a crime beyond the

 prescribed statutory maximum must be submitted to a jury, and proved

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   Hurston initially included the one-level increase under § 2B3.1(b)(6)
 (controlled substances taken during offense) in this claim, but he withdrew
 his challenge to that increase in his reply brief. [See R. 209, PgID 2444-45].
                                        6
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2799 Filed 11/25/15 Page 7 of 10




 beyond a reasonable doubt.” 530 U.S. at 490. The Alleyne Court held that

 any fact that increases the mandatory minimum sentence for a crime is not

 a mere sentencing factor, but is an element of the offense that must be

 found by the jury beyond a reasonable doubt. Alleyne, 133 S.Ct. 2151.

       Neither Apprendi nor Alleyne is implicated here because the

 enhancements Hurston challenges pertained to the advisory sentencing

 guidelines, not a statutory minimum or maximum. See United States v.

 Dillard, Case No. 11-20248, 2013 WL 5966284, at *7-8 (E.D. Mich. Nov. 8,

 2013) (Borman, J.) (Sixth Amendment is not impacted by the advisory

 sentencing guideline range under which defendant was sentenced); United

 States v. Ibrahim, 529 Fed. Appx. 59, 64 (2d Cir. 2013) (“application of

 guidelines enhancements that do not increase the statutory maximum or

 minimum penalty neither implicates nor violates a defendant’s Sixth

 Amendment right to a jury trial”). Moreover, in the Rule 11 plea agreement,

 Hurston admits to facts supporting each of the enhancements he

 challenges. [See R. 95, PgID 611-13]. His counsel was not deficient for

 failing to challenge the enhancements.

       B.   Ineffective Assistance of Counsel – Calculation of
            Guideline Range

       In his second claim, Hurston argues that his counsel was ineffective

 because he failed to calculate the sentencing guidelines accurately –
                                      7
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2800 Filed 11/25/15 Page 8 of 10




 specifically that he failed to challenge the application of a two-level

 increase for the amount of loss being greater than $50,000 but less than

 $250,000 under U.S.S.G. § 2B3.1(b)(7)(C), where the amount of restitution

 he owed was $45,039.99. [R. 185, PgID 2029-32]. This argument fails.

         Hurston admits in his Rule 11 plea agreement that “[t]he contents of

 the van and the van itself were valued at more than $50,000[.]” [R. 95,

 PgID 613]. The amount of loss contemplated by U.S.S.G. § 2B3.1(b)(7) is

 “the value of the property taken, damaged or destroyed.” See U.S.S.G. §

 2B3.1, Application Note 3. Since the van was “taken,” the Court properly

 considered its value when determining the amount of loss, and it correctly

 concluded that the amount of loss exceeded $50,000 based on Hurston’s

 admission in the plea agreement. Hurston’s counsel was not deficient for

 failing to challenge the guideline range calculation with regards to amount

 of loss.

 V.      CONCLUSION

         For the foregoing reasons, the Court RECOMMENDS DENYING

 Hurston’s § 2255 motion to vacate, set aside, or correct his sentence [R.

 183].

                                            s/Elizabeth A. Stafford
                                            ELIZABETH A. STAFFORD
                                            United States Magistrate Judge
 Dated: November 25, 2015
                                        8
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2801 Filed 11/25/15 Page 9 of 10




          NOTICE TO THE PARTIES REGARDING OBJECTIONS

       Either party to this action may object to and seek review of this

 Report and Recommendation, but must act within fourteen days of service

 of a copy hereof as provided for in 28 U.S.C. § 636(b)(1) and Fed. R. Civ.

 P. 72(b)(2). Failure to file specific objections constitutes a waiver of any

 further right of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v.

 Secretary of HHS, 932 F.2d 505 (6th Cir. 1991); United States v. Walters,

 638 F.2d 947 (6th Cir. 1981). Filing objections which raise some issues but

 fail to raise others with specificity will not preserve all objections that party

 might have to this Report and Recommendation. Willis v. Secretary of

 HHS, 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed'n of Teachers

 Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). A copy of any objection

 must be served upon this Magistrate Judge. E.D. Mich. LR 72.1(d)(2).

       Each objection must be labeled as “Objection #1,” “Objection #2,”

 etc., and must specify precisely the provision of this Report and

 Recommendation to which it pertains. Not later than fourteen days after

 service of objections, the non-objecting party must file a response to

 the objections, specifically addressing each issue raised in the objections in

 the same order and labeled as “Response to Objection #1,” “Response to

 Objection #2,” etc. The response must be concise and proportionate in


                                         9
Case 2:13-cr-20495-PDB-EAS ECF No. 259, PageID.2802 Filed 11/25/15 Page 10 of 10




 length and complexity to the objections, but there is otherwise no page

 limitation.

                         CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s ECF
 System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on November 25, 2015.

                                           s/Marlena Williams
                                           MARLENA WILLIAMS
                                           Case Manager




                                      10
